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                    United States District Court
                     District of Massachusetts

                                    )
United States of America,           )
                                    )
          Plaintiff,                )
                                    )
          v.                        )
                                    )     Criminal Action No.
Gary P. DeCicco,                    )     17-10092-NMG
                                    )
          Defendant.                )
                                    )
                                    )



                          MEMORANDUM & ORDER

GORTON, J.

     In June, 2018, following a seven-day trial, a jury

acquitted defendant Gary P. DeCicco (“defendant” or “De Cicco”)

of attempted Hobbs Act extortion, in violation of 18 U.S.C.

§ 1951.

     Pending before the Court is DeCicco’s motion to recover

from the government attorneys’ fees and costs in excess of three

million dollars allegedly expended in his defense of that

charge.

I.   Background

     DeCicco was indicted in 2017 for unlawfully attempting to

obtain an interest in the automobile dealership of an

acquaintance by wrongful use of actual and threatened force,

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violence and fear.      The owner of that dealership was

Confidential Witness John Doe (“CW-1”), an FBI informant from

2006 to 2011 who was then reactivated in July, 2015.

    The government alleged that 1) in 2013, DeCicco sought to

become a partner in CW-1’s automobile dealership, 2) CW-1

rejected that overture, and 3) DeCicco ultimately responded by

sending CW-1 a large bouquet of flowers with an ominous note,

arranging for the delivery of unpaid-for pizzas and making

harassing and threatening phone calls.          The government further

alleged that, in January, 2015, DeCicco arranged for CW-1 to be

violently assaulted.

    DeCicco was detained for 15 months awaiting trial.              After a

seven-day trial, the jury deliberated for one hour and acquitted

DeCicco.     The Court entered judgment in his favor on June 13,

2018.

    DeCicco alleges that the government’s conduct in initiating

and pursuing charges against him was vexatious, frivolous and in

bad faith.     DeCicco submits that the government knew the charges

against him were unfounded and nonetheless pursued them in

retaliation for DeCicco’s refusal to cooperate in a related

high-profile criminal investigation.         DeCicco further avers that

the government committed several discovery violations and




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divulged false information to the Court during the course of the

trial.

II.   Motion for Legal Fees and Expenses

      DeCicco seeks attorneys’ fees and expenses from the

government for its alleged vexatious, frivolous or bad faith

litigation pursuant to the Hyde Amendment, Pub. L. No. 105-119,

§ 617, 111 Stat. 2440, 2519 (1997), reprinted in 18 U.S.C.

§ 3006A (statutory note).      The government opposes DeCicco’s

request as untimely and lacking merit.

      The Hyde Amendment provides, in relevant part, that

      the court, in any criminal case (other than a case in
      which the defendant is represented by assigned counsel
      paid for by the public) . . . may award to a
      prevailing party, other than the United States, a
      reasonable attorney's fee and other litigation
      expenses, where the court finds that the position of
      the United States was vexatious, frivolous, or in bad
      faith, unless the court finds that special
      circumstances make such an award unjust. Such awards
      shall be granted pursuant to the procedures and
      limitations (but not the burden of proof) provided for
      an award under section 2412 of [the Equal Access to
      Justice Act (“EAJA”)].

18 U.S.C. § 3006A (statutory note).

      The First Circuit Court of Appeals has expressly held that

the Hyde Amendment “incorporates the procedures and limitations

contained in EAJA § 2412(d).” United States v. Knott, 256 F.3d

20, 27 (1st Cir. 2001).     That provision states that

      [a] party seeking an award of fees and other expenses
      shall, within thirty days of final judgment in the

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    action, submit to the court an application for fees
    and other expenses which shows that the party is a
    prevailing party and is eligible to receive an award
    under this subsection, and the amount sought . . . .
    The party shall also allege that the position of the
    United States was not substantially justified.

18 U.S.C. § 2412(d)(1)(B).

    Pursuant to the text of the EAJA, incorporated by reference

in the Hyde Amendment, an application for attorneys’ fees and

costs pursuant to the Hyde Amendment must be filed within 30

days of entry of final judgment.      Final judgment was entered in

this matter in June, 2018.     DeCicco’s motion filed 18 months

after that judgment is, therefore, untimely by a factor of 18.

    DeCicco acknowledges the applicability of the 30-day time

limitation but maintains that it is not jurisdictional and,

therefore, the Court should waive the deadline and proceed to

the merits.

    The United States Supreme Court has clarified that the Hyde

Amendment deadline “does not concern the federal courts'

subject-matter jurisdiction.” Scarborough v. Principi, 541 U.S.

401, 413 (2004).     It instead “concerns a mode of relief . . .

ancillary to the judgment of a court that has plenary

jurisdiction.” Id.     That is not to say that the deadline is

artificial; it merely falls into one of two other categories of

time-limitations. Dolan v. United States, 560 U.S. 605, 610

(2010).


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    The first category encompasses ordinary “claim-processing

rules”, which do not limit the jurisdiction of the court, but

rather regulate the timing of motions or claims brought before

the court. Id.   Such rules “assure relief to a party properly

raising them” but nonetheless may be “forfeited” if the party

advocating enforcement of the rule fails to object in a timely

manner. Eberhart v. United States, 546 U.S. 12, 19 (2005) (per

curiam) (holding that a 7–day deadline for filing a motion for a

new trial was a non-jurisdictional claim-processing rule).

    The second category includes “time-related directives”, or

deadlines that seek to keep the process of a civil action in

motion. See, e.g., United States v. Montalvo-Murillo, 495 U.S.

71, 722 (1990) (holding that a missed deadline for convening

bail detention hearing does not require a judge to release the

defendant); see also Dolan, 560 U.S. at 611.        Such deadlines do

not deprive a court of its authority to take the prescribed

action if the deadline is missed even over objections of the

parties. Dolan, 560 U.S. at 611.

    DeCicco maintains that the Hyde Amendment deadline is a

time-related directive, placing it in the latter, more flexible

category and, therefore, the Court may award him attorneys’ fees

and expenses even though the deadline has expired and the

government has timely objected.      Relying on Dolan, DeCicco


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proffers four arguments in support of this conclusion, none of

which the Court finds persuasive.

    As a preliminary matter, the rule at issue in Dolan is

distinguishable from the rule at issue here.        In Dolan, the

sentencing court failed timely to schedule a date for a

mandatory restitution hearing. Id. at 607-08.        The Court

proffered six reasons in support of its conclusion that the

deadline was merely a time-related directive. Id. at 611-17.

Evident throughout the Court’s opinion, however, is the concern

that strict application of the deadline would work only to harm

the individuals the deadline sought to protect: the victims of

the crime who bore no responsibility for a court’s failure to

hold such a hearing in a timely manner. Id.        Here, in contrast,

the question is whether the failure of DeCicco, rather than of

the Court or some other third party, to comply with the

procedural requirements of the Hyde Amendment results in a

waiver of his own claim.

    DeCicco nonetheless maintains that application of Dolan

compels the conclusion that the Hyde Amendment deadline is a

time-related directive.    He first submits that the Hyde

Amendment, similar to the statute at issue in Dolan, fails to

specify the consequences of noncompliance with the procedural

requirements. See id. at 611.     DeCicco concludes that the Court


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should, therefore, decline to impose its own “coercive sanction”

of waiving DeCicco’s claim.

    In Dolan, however, the issue was not whether one of the

parties had waived a claim but rather what consequences resulted

from the court’s untimely scheduling of a mandatory hearing. Id.

at 611.   The Court looked first to the language of the statute

which provided that the court “shall set a date for the final

determination of the victim's losses” no more than 90 days after

sentencing. 18 U.S.C. § 3664(d)(5).      The Court conceded that the

word “shall” appeared to weigh against classifying the rule as a

time-related directive, though it did not necessarily bar courts

from taking the prescribed action. Id.

    Here, unlike in Dolan, there is no ambiguity surrounding

the consequence of a party failing to comply with the procedural

requirements of raising a claim: the claim is waived. See

Eberhart, 546 U.S. at 19.     Furthermore, EAJA § 2412(d), like the

statute as issue in Dolan, states that a party “shall” comply

with the deadline. 18 U.S.C. § 2412(d)(1)(B).        Consequently,

even if there was ambiguity surrounding the consequences of

noncompliance, the use of the compulsory “shall” in the Hyde

Amendment requires, as in Dolan, that this factor either weighs

slightly against classification as a time-related directive or

is inconclusive.


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    DeCicco next argues, again relying on Dolan, that the

legislative history of the Hyde Amendment supports classifying

the deadline as a time-related directive.       The legislative

history of the Hyde Amendment promotes awarding relief to

defendants who are subjected to vexatious, frivolous or bad

faith litigation by the government. See, e.g., 143 Cong. Rec.

H7786-04, H7793 (Sept. 24, 1997) (statement of Representative

Hyde).   Consistent with that purpose, defendant maintains, the

Court should decline to enforce a deadline that would bar his

meritorious claim.   That argument, in effect, seeks to

relitigate United States v. Knott, in which the First Circuit

determined that the 30-day claims limitation in the EAJA applies

with equal force to claims, regardless of their merit, made

pursuant to the Hyde Amendment. See Knott, 256 F.3d at 27.

Although defendant may disagree with that decision, it binds

this Court now just as it did 19 years ago.

    In his third argument based on Dolan, DeCicco maintains

that strict enforcement of the deadline will impermissibly

benefit the government and penalize him for circumstances

largely outside of his control.      He notes that he has been under

a separate criminal indictment since before his acquittal in

this case and, as a result, his resources have been drained and

he struggled to retain counsel.      DeCicco proffers no

explanation, however, for his assertion that his drained

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resources were a bar to bringing his Hyde Amendment claim 18

months ago but pose no obstacle today.       Furthermore, any harm to

DeCicco resulting from the enforcement of the Hyde Amendment

deadline is attributable entirely to his own failure to act in a

timely manner.   DeCicco is the sole party responsible for the

missed deadline and is the party that has forfeited his claim as

a result.

    In a final attempt to salvage his claim, DeCicco contends

that equitable considerations warrant waiving the deadline.             He

underscores the purported merits of his petition and the lack of

any prejudice to the government attributable to the delay.             The

contended merit of DeCicco’s claim is, however, irrelevant to

whether or not there is good cause for it being 18 months late.

Furthermore, DeCicco provides no support for his argument that

the government must establish some prejudice resulting from a

prospective waiver of defendants’ default to hear his Hyde

Amendment claim.

    Accordingly, DeCicco’s motion pursuant to the Hyde

Amendment for attorneys’ fees and expenses is untimely.          Having

so concluded, the Court need not proceed to its merits but is

compelled to comment on the breathtaking over-reach of defense

counsel in filing the instant motion.       Not only is the belated




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motion untimely by a year and a half, it is devoid of merit and

lacking in good faith.

    The Hyde Amendment provides that, when warranted, the

prevailing party is entitled to

    a reasonable attorney's fee and other litigation
    expenses . . . unless the court finds that special
    circumstances make such an award unjust.

18 U.S.C. § 3006A (statutory note) (emphasis added).        Nothing in

the record suggests that a three-million-dollar fee is

“reasonable” here or that this defendant is entitled to any

award.

    To the extent that defense counsel was motivated, as the

government persuasively suggests, by an inappropriate attempt to

gain a strategic advantage in a separate criminal case pending

against defendant, such conduct is ethically suspect and ought

not be repeated.

    In any event, the motion will be denied as untimely.




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                                 ORDER

    For the foregoing reasons, the motion of defendant Gary

DeCicco for legal fees and expenses (Docket No. 369) is DENIED.




So ordered.



                                   /s/ Nathaniel M. Gorton
                                   Nathaniel M. Gorton
                                   United States District Judge




Dated February 13, 2020




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